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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA   )
                           )
    v.                     )           CRIMINAL ACTION NO.
                           )             2:09cr155-MHT
UBLESTER CARDENAS-PORTILLO )                   (WO)

                        OPINION AND ORDER

    This cause is before the court on defendant Ublester

Cardenas-Portillo’s motion to continue.             For the reasons

set forth below, the court finds that jury selection and

trial, currently set for November 30, 2009, should be

continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.      The Act provides in part:


         “In any case in which a plea of not
         guilty is entered, the trial of a
         defendant charged in an information or
         indictment with the commission of an
         offense shall commence within seventy
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         days from the filing date (and making
         public)    of   the    information    or
         indictment, or from the date the
         defendant has appeared before a judicial
         officer of the court in which such
         charge is pending, whichever date last
         occurs.”

18 U.S.C. § 3161(c)(1).       The Act excludes from the 70-day

period any continuance based on "findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial." § 3161(h)(7)(A).        In granting such a continuance,

the court shall consider, among other factors, whether

the failure to grant the continuance would “result in a

miscarriage of justice,” § 3161(h)(7)(B)(i), or "would

deny counsel for the defendant or the attorney for the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence."    § 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Cardenas-Portillo in a speedy



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trial.      Cardenas-Portillo           contends    that,   during       the

recent plea hearing held on November 19, 2009, he decided

not to accept the plea agreement and instead maintained

a plea of not guilty.          Cardenas-Portillo and his counsel

met with an interpreter on November 23 in another attempt

to resolve the case by way of plea agreement.                    At that

time, Cardenas-Portillo made it clear to his counsel that

he   wished    to    proceed   to    trial.        Cardenas-Portillo’s

counsel represents that a continuance is necessary to

enable him to prepare for trial properly in light of the

upcoming       Thanksgiving         Holiday,       counsel’s      recent

difficulty          in   meeting        with       Cardenas-Portillo’s

interpreter, and due to the fact that Cardenas-Portillo

unexpectedly refused to enter a plea of guilty two weeks

before jury selection was scheduled to begin.                  Cardenas-

Portillo’s motion is unopposed by the government.

     A defense attorney is expected to be prepared to

proceed with trial in all cases, even if the defendant

fails to follow through on a proposed guilty plea.



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Nevertheless, the court finds a continuance is necessary

here    to   serve    the    ends    of     justice   because    of    the

difficulty       in   getting       an    interpreter     for   defense

counsel’s needed meetings with his client between now

and    the   current     trial      date,    a   difficulty     that      is

exacerbated by his client’s recent request for a new

attorney.

                                    ***

       Accordingly, it is ORDERED as follows:

       (1) Defendant Ublester Cardenas-Portillo’s motion

for continuance (doc. no. 118) is granted.

       (2) Defendant Cardenas-Portillo’s jury selection and

trial are continued to February 8, 2010, at 10:00 a.m.,

in the Frank M. Johnson Jr. United States Courthouse

Complex, Courtroom 2FMJ, One Church Street, Montgomery,

Alabama.

       DONE, this the 23rd day of November, 2009.


                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
